Case: 2:19-cv-00709-EAS-CMV Doc #: 1-1 Filed: 02/28/19 Page: 1 of 18 PAGEID #: 9

IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

PHILLIP DOUGLAS JACOBS,

Petitioner

CASE aor 1 9g ev7 09

Ve
STATE OF OHIO, et al., .
OHIO DEPARTMENT OF REHABILITATION Judge Sargus aA
AND CORRECTION, et al., E VASCU
OHIO ADULT PAROLE AUTHORITY, et al., MAGISTRATE JUDG

LYNEAL WAINWRIGHT, (Warden)

Respondent.

COMPLAINT FOR DECLARATORY JUDGMENT ORDER

 

PETITION FOR WRIT OF PROHIBITION

Retitioner Phillip Douglas Jacobs, herein, advance the
instant Complaint for a declaratory Judgment order and writ of
prohibition, pursuant to 28 U.S.C. §2201 and 28 U.S.C. $1651.

l- Petitioner states that he is being subject(ed) to illegal
detention in violation of his rights to due process of law, and
the equal protection of the law.

2- He further states that the parties against whom this
instrument is concerned, are in violation of the Ex Post Facto
Clause.

3. He states that the Office of the Governor of the State of
Ohio, the Ohio Department of Rehabilitation And Correction, And
the Ohio Adult Parole Authority, effected legislation (House Bill
365), which operates retroactively and ifcreases petitioner's
punishment subsequent to the judgment entry entered by the state

trial court, or operate otherwise to the disadvantage of

petitioner.
Case: 2:19-cv-00709-EAS-CMV Doc #: 1-1 Filed: 02/28/19 Page: 2 of 18 PAGEID #: 10
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WHERE:

a.) Petitioner's sentence, parole and sentences have already
been served.

b.)} The May 24, 1985, judgment of the state trial court has
already been satisfied.

c.-) Consequently, the state of Ohio, the Ohio Department of

Rehabilitation And Correction, nor any of its agencies or
departments have authority or jurisdiction to reincarcerate
petitioner under his state satisfied sentences, as could be

extended ¢o a lawful state court order. Or that attach under the

judgment of a court of competent jurisdiction.

4.) Petitioner states that all such parties are and continue to
be divested of subject-matter and personal jurisdiction.

5.) Petitioner states that he has a right of expectation of
finality to his sentences served, as an entitiement under old law
House Bill sll, and aS applied and extended by Revised Code

§2929. 61.
6.) Under the "old law" petitioner is entitled to 8 months and 15

days to the year.

7.) His sentencing judgment entry (Case No. 85-158, Mahoning
County, Ohio) , was entered May 24, 1985. That Judgment Entry
connects no other prison terms to be served , with the 35 to 55
year sentences imposed.

8.) Petitioner states that under any circumstances that would
include other prison -sentences to be served, yet not included
within the May 24.. 1985, "JOURNAL ENTRY"', That would render the

Entry not in compliance with state Crim R. 32{c).
United States vs. Adkins, 729 F-3d 559 (6th Cir. 2013)
Case: 2:19-cv-00709-EAS-CMV Doc #: 1-1 Filed: 02/28/19 Page: 3 of 18 PAGEID #: 11
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9.} Petitioner states that implementation of House Bill 365
attaches to a series of state legislation passed, and signed into
law for the purpose and effect of creating a sufficient increase
beyond that initially imposed by the sentencing court., as is
shown in petitioner's case.

WHEREFORE, petitioner prays for relief as this Court

deems necessary.

DELARATORY RELIEF SOUGHT

That the parties are in violation of petitioners due process
and equal protection of the law rights.

That vespondents impleamentarion of state legisiation law
violate the Ex Post Facto Clause, as termed, or applied.

In House Billi 365.

PROHIBITION RELIEF SOUGHT

That respondent be prohibited from applying House Bill 365,
to the circumstances of petitioner's case.

That the respondents be prohibited from continuing
petitioner's detention under the Judgment Entry: of Case No.
85-_158, antered on May 24, 1985.

That xepondents be prohibited from imposing any other
Sentence or condjtion that excsed their Eawful exercise of

authority ©r jurisdiction to do so.

DATED: February 17, 2019

Signed under penalty of perjury,
Respectfully submitted,

28 U.S.C. 1746. —)
Lancy

- \
a Phillip Dougla Tacobs

“4185-106

 
Case: 2:19-cv-00709-EAS-CMV Doc #: 1-1 Filed: 02/28/19 Page: 4 of 18 PAGEID #: 12

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oo —- “aantrgl while committing the offense of Félonious Assault; a
| ; ra”

POLSEETE BLLEF "38 fb. DOL. o

. AGGRAVATED RO, - R.C. . -
Indictment for:...HA gee brans wWitLE DNbER DESASILAAy > THO cour
R 3-13 (A}(2) ~- TWO COUNTS -AND
ov: Augie 2903.11 (A) (2) - THO cours

_———- ——____,

 

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gue aik SeAGIAR.
THE STATE OF OHIO, maHbitine COUNTY, «s.

In the, Court of Common Pleas, Mahoning County,. Ohio, of tha Term. off

FELONIOUS ASSAULT

 

January _ in the year of our Lord one thousand nize
hundred and__ eighty-five.

The Jurors of the Grand Jury of the County of Mahoning and State of Ohio, then
and there duly impaneled, sworn and charged to inquire of. and present all offenses
whatever committed within the-limits of said Courtty, on their said oaths, in. the name
and by the authority of the State of Ohio, do jind and present: That

PHILLIP JACOBS

 

 

 

date of said County, ari sarisares” 7
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“we at the County of Mahoning aforesat

FIRST COUNT: did, on the 12th dey of July, 1984, in committing or at-

““temptang to commit a theft offense, as defined in Section 2913.01 of the

‘Revised Code, against the persons of Richard Saul and Ellis Griffey, en--

ployees of California Wine Shop, 1813 Belmont Avenue, Youngstown, Ohio,

or in fleeing inmediately after such attempt or offense, have a deadly

‘weapon, to-wit: a gun, on or about his person or mder his control;
SPECIFICATION: The Grand Jurors further find' and specify char
PRiliie Jacobs had.a firearm on or about his person or under his
eontrol while committing the offense. of Agpravated Robbery;

{SECOND COUNT: on the 12th day of July, 1984, knowingly ecquired, had,
carried or used 2 certain firearm, to-wit: a Handgun, losded, having
been previously convicted of « feleny of violence,-to-wit: Second Degree
Murder, Freble County, Chio, Court Of Common Pleas Case No. 5167, on

Marci 8, 1972;

THIRD COUNT: did, on the 28th day of sole, ‘1984, in committing or at-
tempting to commit a theft ‘offense, as ed in Section 2913.01 of the
Revised Code, against the person of Louis DiNardo, an employee of Church's
Fried Chicken, 2841 Market Street, Youngstown, Ohio, or in fleeing imme-
diately eftér- such atrempe or offense, have a deadly weapon, to-wit: a
gun, on or about his person or under his control: .

SPECIFICATION: The Grand Jurors further find and apecify thet -
‘Jacobs had a firearm on or about his person or mder his
control while committing the offense cf Aggravated Robbery;

FOURTH COUNT: did, on the 28th day of July, 1984, knowingly acquired, had,.
| carried or used a certain firearm, to-wit: a .25 Caliber ‘autouetic.
leaded, after having been previously convicted of a felony of violence,
to-wit: Secona vegree Murder, Preble County, Ohio, Court Of Common ress
Case No. 5167, on March 5, 1972; .
FIFTH cOUNT:~. did, on the 28th day of July, 1984, knowingly cause or at-
tempE to cause physical herm to Officer Robin Lees of the Youngstown Police
Department by means of a deadly weapon, to-wit: a gun; .
-- “SPECIFICATION: The Grand Jurors further find and specify that oO 1.
_FRITYip Jacobs had 2 firearm on or about his person or under his

 

 

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Fed in Coen Ne, 2555153 CORTINUED

 

 

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- 7 Case cv FCUNGR Uoitrr! Nee za ef 44.298. oF July, isan knowingly cause

f~ tempt to cause physical harm Officer Williain Powell
. Police Department by means of . deadly weapon, to-wit: % ren , Toune
SPECIFICATION: The Grand Jurors further find and i
p Jacobs had a firearm on or about his person os ade hts
control while committing the offense of Felonious Assaultj —

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contrary to the statute in such case made and provided, and against the peace an

dignity of the State of Ohio, R.¢, 2911.01 (A)(1); 2923.13 (A)(2) And
2903.12 (A)(2). eves Pi he

Counts 1,3,5 & 6 = AF-1 Prosecuting dicey,
Counts 2&4-<--+- F=4 :

 

 

 

 

 

 

  
 
     

 

 

   

 

 

 

   

 

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= i | * The State of Ohio, Mahoning County, rs.
4 si 2 L .
i. {3 Clerk of the Court of Common Pleas, in and for acid County, do herel
1 { a eertify that the within and foregoing is a full, trua ond soerect eopy 1
| 3 4 the eviginal indictment, together with the endorsements theram, mow @
e § file in my office.
| 23 Witnesy my hand ond the wal of said Court «
t F-3 Youngstows, Ohio, this... day
2
j = 19.
| 33
2 | ; 2 Clerk
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Case: 2: {
CRIMES—PROCEDUR

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Mustafa, Nos. 62041 and &
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the legislature pursuant to F
itate v. Addison (Ohio App. 1987)
3d 7, 530 N.E.2d 1335.0:
it's denial of a motion to vaca

id after execution of sentence
a final appealable order
appeals court. State v. S i
1986) 27 Ohio App.3d 54, 499
27 O.B.R. 57.

judge retains authority to modify;
te sentence where the original
ssly designated that sentencing, £
apleted at a later time and where
completion of the sentence be!
at defendant's request. city of

 

 

PENALTIES AND SENTENCING

Columbus v. Messer (Ghio App. 1982} 7 Ohio
App.3d 266,455 N.E.2d 519, 7 O.B.R. 347.
The Ohio department of rehabilitation and
correction has no authority and, therefore, no
duty to independently determine whether to
abrogate or modify a prisoner's or parolee’s
sentence under 1975 H 300, § 3, eff. 11-21-75,
which enacted RC Ch 2925 and amended RC
Ch 3719; the prisoner or parolee must petition
the court of original sentencing which will
determine whether to abrogate or modify a

‘sentence, OAG 75-082,

6. Work release

The time a prisoner spends at work in com-
pliance with a court order for work release is
counted as jail time served under a sentence of
confinement imposed for a misdemeanor con-
viction, Hoff v. Wilson (Ohio 1986) 27 Ohio
St.3d 22, 500 N.E.2d 1366, 27 O.B.R. 440,

A work release order pursuant to RC

, 2929.51(D)(3) must be clear and definite,

iguous, and not subject to dual interpre-
tations, so that a sheriff cannot be held in con-
tempt of court for failing to release a defendant
for work under an ambiguous order. Marys-
ville v Wilson, No. C4-94-8, 1994 WL 378992

(3d Dist Ct App, Union, 7-20-94).

7. Community correctional program
Pursuant to RC 2929.51, a trial court is
required to refer an offender to a community
correctional facility for a written recommen-
dation after imposing sentence and before con-
veying the offender into the custody of the cor-

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2929.61

-rectional institution in which the sentence is to

be served if a community correctional facility
has been established in the county wherein the
trial court sits. State v Farris, No. 8&8 CA 67
(7th Dist Ct App, Mahoning, 11-16-88).

A sentencing court in a county with a com-
munity-based correctional facility and pro-
gram has a mandatory duty to notify the facil-
ity that sentence has been passed upon a felony
offender and to afford it access to such
offender for the purpose of making recommen-
dations concerning such offender to the sen-
tencing court; failure to do so will result in a
reversal and remanding of the sentence. State
v Farris, No. 88 CA 67 (7th Dist Ct App,
Mahoning, 11-16-88).

8. Fines

Statute pursuant to which court could per-
mit payment of fine in installments, provided
that maximum period for payment did not
exceed two years, did not mean that, upon
lapse of two-year period, court could no longer
seek to collect fine. State v. Burke (Gallia
1993) 91 Ohio App.3d 514, 632 N_E.2d 1324,

9. Conditions of suspension

A life-long restriction on owning or possess-
ing a firearm as a condition of suspension of
sentence of a defendant convicted of inducing
panic when he fired several gunshots into the
air is not reasonable and is an abuse of discre-
tion. State v Hamauer, No. 14492, 1995 WL
259191 (2d Dist Ct App, Montgomery, 5-3-95).

2929.61 Applicable law according to time of offense; may be chosen by

person to be sentenced

(A) Persons charged with a capital offense committed prior to January 1,
1974, shall be prosecuted under the law as it existed at the time the offense was
conunitted, and, if convicted, shall be imprisoned for life, except that whenever
the statute under which any such person is prosecuted provides for a lesser
penalty under the circumstances of the particular case, such lesser penalty

shall be imposed.

(B) Persons charged with an offense, other than a capital offense, committed
prior to January 1, 1974, shall be prosecuted under the law as it existed at the
time the offense was committed. Persons convicted or sentenced on or after
January 1, 1974, for an offense committed prior to January 1, 1974, shall be
sentenced according to the penalty for commission of the substantially equiva-
lent offense under Amended Substitute House Bill 511 of the 109th General
Assembly. If the offense for which sentence is being imposed does not have a
substantial equivalent under that act, or if that act provides a more severe
penalty than that originally prescribed for the offense of which the person is
convicted, then sentence shall be imposed under the law as it existed prior to

January 1, 1974,

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STATE OF OUIO zs 2M Sow me count oF common PLEAS
COUNTY OF MANOWING J. 00 cree: -t** Case No. 85 CR 158

STATE OF OHIO, )

PLAINTIFF ;
_ } FUDGE ENTRY
PHILLIP JACOBS, }

DEFEMDANT }

This cause cans om to be beard on the 24th day of May,
1985, om the mustter of sentence, the jury having returned the

“(werdict of guilty to the First, Mifth end Sixth Counts of the

, indictemnt. The State of Ghic came represented by Assistant

Prosecuting Atterney Michesel F. Rich and the defendant came repre-
sented by Attoraey Edward A. Sewinski, Jr. The defendant wes also
in Court.

The Court inquired of the defendant whether he had any-
thing to sey in eitigation of sentence pursuant to Rule 32 of the
Rules of Criminal Procedure. Defendant replied as will be re-

flected in the record, The Coert also inquired of counsel for

: the defendant whether of not he had anything to say in mitigation

of pmistent, Cowmsel replied 2s will be reflected in the

The Court then proceeded to sentence: It is rhe sen-
tence of this Court on Cowmt 1 of the indicrment for the crime of
» Aggravated Robbery, a violation of Ohio Revised Code 2911.01 (A)

(1), am aggravated felony of the first degree, that the Defendant,

‘PRiLlip Jacebs, be taken from here to the Mahoning County Jail and

_ thence to the Columbus, Ohic, Correctional Facility to be inm-

 

 

 

ae ile

| prisoned for am indefinite term of mot less than ten (10) years
: Ror more than twenty-five (25) years, the uinimum term shali be
_ igposed as a term of actual incarceration. Further, the jury

 
 

 

Case: 2:19ipv-00709-EAS-CMV Doc #: 1-1 Filed: 02/28/19 Page: 8 of 18 PAGEID #: 16

‘having found the defendant guilty of the specification to Count
* one of the indictment that the defendant had a firearm on or
“sdout hia person, ic is the sentence cf the Court that the de-
| femdant shall serve a term of actual incarceration of three (3)
Soars) said tetra te commence prior to the imposition of the
sentence for Aggravated Robbery.

The Court chen proceeded to sentence on the Fifth
“Count. The Court inquired of the defendant whether he had eny-
i, thiag te say ia mizigation of sentence pursuant to Rule 32 of
the Rules of Criminal Procedure. Defendant replied as will be
: reflected in the record. The Court also inquired of counsel for
: the defendant whether or not he had anything to say in mitigation
‘of Punishment. Counsel replied as will be reflected in the
\ It is the sentence cf this Court that for the crime of
‘}Peloaious Aasault, a violation of Ohio Revised Code 2903.11 (A)
(2), that the Defendant, Phillip Jacobs, be taken from here to
‘ithe Mahoning County Jail snd thence to the Columbus, Ohio,
;/ Correct tonal Facility te be imprisoned for an indefinite term of
net less than eight (8) years, nor more than fifteen (15) years.
‘Purther, the jury having found the defendant guilty of the speci-
‘ fieation to Count Five of the indictment that the defendant had
1a firearm on or about his person, ir is the sentence of the Court
A that the defendant shall serve a term of actual incarceration
Of three (3) years, said tera to commence prior to the imposition
i@f the sentence for Felonious Assault.

r The Court then proceeded to sentence on the Sixth Count.

z

|: The Court inquired of the defendant whether he had anything to

"say in mitigation of sentence pursuant tc Rule 32 of the Rules of
" Crisinal Procedure. Defendant replied as will be reflected in the

}

‘feeord. The Court also inquired of counsel for the defendant

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Case: 2:19%cv-00709-EAS-CMV Doc #: 1-1 Filed: 02/28/19 Page: 9 of 18 PAGEID #: 17

'
é ther cr pot he had anything to say in mitigation of punishmenr, |

J
Counsel replied as will be reflected in the record. |

i The Court then proceeded co sentence on the Sixrh Count: }
Ee is the sentence of this Court that for the crime of Felonious |
JAsemott, a violation of Ohio Rewised Code 2903.11 (A) (2}, chac
the Gefentant, Phillip Jacobs, be taken from here to the Mahoning
lone Jail and thence to the Columbus, Chis, Correctional
pacilit “ to be tmprisoned for an indefinite term of not less than

deigine {§) years, mor more than fifreen (153 years. Further, che

   
   
  
   
    

wry naving found the defendant guilty of the specification to
t Six of the indictment that the defendanr hat a firearm on

gor aba.t Ais person, it is the sentence of the Court that the

 

Hefendant shall serve aterm of actual incarceration of three

3) years, said term to commence nrior to the imposition of the
entemee for Felomious Assault.

it is the further order of this Court that the sentences
dom the First, Fifth and Sixth Counts of the indictment

iPhall be served comsecutive with ome another and chat the sen-

 

 

i ences for each specification shall be consecutive with and prior
eo the sentences imposed on Counts One, Five and Six and consecu-

tive with each other.

 

   

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din Case No, @ f= Ep.
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dilahoning County Sheriff Hepariment

21 W. Boardman Street e Youngstown, Ohio 44503 ¢ 216/744-0201

 

THE, INFORMATION LISTED BELOW WILL SERVE AS A RECORD OF CREDIT

FOR TIME SERVED BY AN INMATE IN THE MAHONING COUNTY CORRECTIONAL

FACILITY:

JACOBS, PHILLIPS D.

NAME

CASE NO.s ( SEE CERTIFIZD COFY OF SENTENCE REF. BELOW)

SENTENCE (minimum & maximum) 1° T) 25 YRS, 6 TO 15 YRS & 8 70 15 YRS
38 DAYS CREDIT

TATE OF ARREST 1-26-89 ° .

3-5-85 .

DATZ OF ARRIVAL AT COUNTY JAIL
5-29-85 85 DAYS CREDIT

DATE OF DEPARTURE FROM COUNTY JAIL

TOTAL CREDIT DAYS DUE__'°? .

     

 

   

CERTIFIED BY CO r OF MAHONING
~ EDWARD P. NEMETH
SHERIFF

SHORN TO AND SUBSCRIBED BEPORE ME, THIS BG DAY
OF ey AU. 1s _ £o0_- .

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ye 2:19-cv-00709-EAS-CMV Doc #: 1-1 Filed: 02/28/19 Page: 11 of 18 PAGEID #: 19

 
 

UNITED STATES COURT OF APPEALS
FOR THE SIXTH CIRCUIT
100 EAST FIFTH STREET. ROOM 532
POTTER STEWART U.S. COURTHOUSE
CINCINNAT), OHIO 45202-3988

# ” cONARD GREEN eee

CLERK

Filed: March 21, 2000

Phillip Douglas Jacobs

North Central Correctional Institute
#185-106

P.O. Box 1812

Marion, OH 43301-1812

‘ Stuart W. Haxris
Office of the Attorney General
Corrections Litigation Section
140 E. Town Street
14th Floor
Columbus, OH 43215-6001

RE: 99-4127.
In re:Phillip Jacobs vs.
District Court No. 94-01910

Enclosed is a copy of an order which was entered today in the above-
styled case.

(Ms.} Texesa Bertke
Case Manager

Enclosure

ec:
Honorable Lesley Brooks Wells
Ms. Geri M. Smith

 
Case: 2:19-cv-00709-EAS-CMV Doc #: 1-1 Filed: 02/28/19 Page: 12 of 18 PAGEID #: 20

No, 99-4}27

FILED

‘UNITED STATES COURT OF APPEALS

FOR THE SIXTH CIRCUIT MAR a1 2000
} LEONARD GREEN, Clerk
In re: PHILLIP DOUGLAS JACOBS, }
) ORDER
Movant. )
)
j

Before: NORRIS, MOORE, and COLE, Circuit Judges.

Phillip Dougles Jacobs seeks en order from this court, pursuant to 28 U.S.C. § 2244,
authorizing the districi court to consider a second motion for habeas corpus relief under 28 U.S.C.
§ 2254, |

Section }05 of the Antiterrorism and Effective Death Penalty Act of 1996, Pub. L. No. 104
132, 110 Stat. 1214, which amended § 2244, requires that a state prisoner cannot file a second or
successive habeas corpus petition in the district court until the court of appeals issues an order
authorizing the district court io consider the second petition. The appellate court may grant an
applicant permission to file a second habeas or successive pelition under § 2244(b)(2) only ifthe

court can certify that:

1) the applicant shows that the claim relics on a new rule of constinitional law,
rade retroactive to cases on collalera) review by the Supreme Count, that

was previously unavailable; or
Case: 2:19-cv-00709-EAS-CMV Doc #: 1-1 Filed: 02/28/19 Page: 13 of 18 PAGEID #: 21

> No. 99-4127
-2-
2) the factual predicate for the claim could not have been discovered previously

through the exercise of due diligence; and

3) the facts underlying the claim, if proven and viewed in light of the evidence
asa whole, would be sufficient to establish by clear and convincing evidence
that, but for the constitutional error, no reasonable fact finder would have

found the applicant guilty of the underlying offense.
The applicant is required to make a prima facie showing that he is entitled to relief under § 2244

before permission to file his second petition may be granted.

In 1985, Jacobs was convicied of aggravated robbery and felonious assault He was

sentenced to thirty-five to fifty-five years ofimprisonment. Jacobs's first habeas corpus petition was

dismissed as meritless. In his request to file a second habeas petition, Jacobs argues that the

prosecutor engaged in misconduct and that his indictment wes flawed.

Upon review, we grant Jacobs’s request to file a second §2254 petition in the district court.

> The case is remand to the district court to consider Jacobs’s request for relief.

ENTERED BY ORDER OF THE COURT

Herd Suert,’

Clerk
Case: 2:19-cv-00709-EAS-CMV Doc #: 1-1 Filed: 02/28/19 Page: 14 of 18 PAGEID #: 22

Ohio Parole Board Decision

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Inmate Last Name: Inmate First Name: # Prefix: | Inmate Number;

JACOBS PHILLIP A 185106

Current Hearing Identifier:

Hearing Month (mmm yyyy) | Type Of Hearing: Record Number; Date Of Hearing:
Jan 2006 1st/2nd FIRST . 11/17/2005
Offenses) Of Conviction:

2903.11 2911.01

2903.11 2950.081

1. Category § for the conviction

A. Guideline Section No.(s): 321 B1
B, Details of the conviction behavior. Only state the facts that support the specific offense category, which correspon
conviction: ‘

Inmate is serving a sentence for the crimes of Agg. Robbery, Fel. Assault, and Fel. Assault.

ds to the offense(s) of

C. The equivalent SB2 sentence range for this (these) sentences(s) of conviction is 84-312 months cs/w108 AIG

 

 

 

 

 

 

 

 

 

 

2. Criminal History/Risk Score: 4 3. The Guideline Rangeis 0 ~- 108 months.

4, Total Time Served: 274 months - arrived athy- A. Prisori Time: 270 months +  B. Jail Time Credit: 4 months
TPV Arrest Date:

5. _ oc infractions thai resulied in a new conviction for felony oriminal conduct committed in 2 prison facility/or while in custody. Only state
the facts that support the specific offense category, which corresponds to the offense(s) of conviction.

Category for new conviction: Section No.(s): Criminal History/Risk Score: Guideline Range:

Details of Conviction Behavior:

DRC3039 E (Rev 10/04) Distribution: Inmate, Board File, Record Office Poge |! of 3
 

 

 

 

 

 

 

 

Case: 2:1 9-cy-00709-EAS-CMV._Doc #: 1-1 Filed: 02/28/19 Page-15 5419 PAGHID# 33
inmate Last Name: inmate First Name: # Prefix, S| inmate Number“ i
Jacobs Phillip A 185106 |
First Statutory Eligibility Date (mmm yyyy) . Type of Hearing: Date of Hearing:
November 2005 Actual . CONTINUED 05/15/2014

 

 

 

1, Offense(s) Of Conviction:
2903.11 Felonious assault 7 counts; 2903.11 Felonious assault 1 counts; 2911.01 Aggravated robbery 1 counts; 2903.02 Murder 1 counts; ;

Agsregate sentence per Jourmal Extry: 9GUN+LIFE-LIFE
2. Parole Violators (if applicable)

[] TPY

 

Sentence: "

 

| PYR EST:
Offense(s) of Conviction:

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3B. Rationale: Cite specific factors relevant to the offense and offender:

 

4, The above-indicated factors support one or all of the following reasons cited in AR 5120:1-i-07

for continued incarceration.

A. . [_] There is substantial reason to believe that the inmate will engage in further criminal conduct, or that the inmate will not

conform to such conditions of release as may be established under AR 5120:1-1-12.

B. -[_] There is substantial reason to believe that due to the serious nature of the crime, the release of the inmate into society
would create undue risk to public safety, or that due to the serious nature of the crime, the release of the inmate would

not further the interest of justice or be consistent with the welfare and security of society.

C. [[] There is substantial reason to believe that due to serious infractions of division level 5120:9-06 of the Administrative
Code, the release of the inmate would not act as a deterrent to the inmate or to other institutionalized inmates from

violating institutional rules.

D. [X} Not applicable. .
5A. Time Served to Date: 358 months: . TPV Arrest Date (if applicable):
arrived at by — A. Prison Time: 348 months + B. Jail Time Credit:

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-B. Remaining Time to be Served: (cannot exceed.the maximum sentence}...
months: ..

months

 

 

 

 

 

 

 

‘To next hearing 5 months ToRelease- - .- ----
6A. Recommendation: — messes sens oe RESCHEDULED © 10/G172014
B.CON |
?. Hearing Panel
‘Board Member Signatire”” - me — rr mee ke nade Board Wwiember:-- ce eee ee ee. le ee cee ————
Michael H Jackson  §/15/2014 MHI 7 .
Hearing Officer Signature Hearing Officer (if applicable):
_| Gf applicable): oe = oe

 

 

D5RC3039 B (Rev. 03/2013) *A, release recommendation-is-subject.to review and approval by the Parole Board Chair, andis not final until actual release. from, custody occurs. The
. physical release may be stopped by the Parole Board Chair up to and including the day of release if significant new information is received that was not
information can include institution rule infractions and/or a petition from the Office of Victim Services

considered at the release hearing. Significant new in
for a Full Board hearing pursuant to section 5149.10] of the Ohio Revised Code.

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: hio Department of
‘Ww § Rehabilitation & Correction

John R.-Kasich, Governor
Gary <. Mohr, Director

Fe PF Ww OW’, Broac Sireet Columbus, : hic 43222

se: 2:19-cv v-09709- EAS-CMV Doc i 1-1 Filed: 02/28/19 Pa

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REENTRY ACCOUNTABILITY PLAN

ge: 16 of 18 PAGEID #: 24

Thursday, June 11,2015 11:47 AM

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

. http://dotsportal/reports/RRAP1.aspx?par=A 1851 06;

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Inmate: Ai&s106 JACC CES, PHILLIP 4| yer Inst: MCI DOB: 09/12/1943
| _|
jin. JPrior Convictions {Adult or Juvenile): Ct.
In. {Prior Commitments of More than 1 Year Adult or Juvenile): 0
Cc. Recent Commitment Free Period (three years): 0
nm Dyeahation/Perole/Confinement/Escape status of violator this n
“* teimes .
E. Prior Probation/Parole Revocations: 0
ir. jOlder Offender: -1
G. Sex Offender
PSI Available: YES ‘ / RISK SCORE: o
DYNAMIC ASSESSMENT
ila. (Education: o need for improvement
TI. arital/Family Interaction: : _ {No need for improvement
TIl. |JAssociates/Social Interaction: Some need °
IV. Substance Abuse: , No need for improvement
V Community Functioning: No need for improvement
VI. Personal/Emotional Orientation: No need for improvement
WIT. jAttitude: Some need
VIII. (Employment: INo need for improvement
PSI Available: NO : .
‘|R/W/S DATE - - PROGRAM TYPE A/D PROGRAM. NAME. D/T/C. DATE.
R 61/12/2010 - Community Function -§A THINKING FOR A CHANGE 12/24/2013. D
R 11/15/2006 Attitude A VICTIM AWARENESS 04/02/2014 D
: . - OAS
g “| so, '
Cheek TP det ~ 1b- LS
Inmate Signacure: Hea A | A DATE
iene =
Reentry Plan Coordipater;  .f f-
Signature: — _ DATE: e/lf fs,
ff
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6/11/2015

 

 
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Case: 2:19-cv-00709-EAS-CMV Doc #: 1-1 Filed: 02/28/19 Page: 17 of 18 PAGEID #: 25

"THE STATE OF OHIO BILL TEXT > OHIO 132ND GENERAL ASSEMBLY -- 2017-18 REGULAR
SESSION > HOUSE BILL 365

Synopsis. .

To amend sections: 109. 42, 121: 22, 149. 43, 2903. 08, 2903.11, 2903.12, 2905.01, 2905.32, 2907.02, 2907.03,
2907.05, 2907.07, 2919.22, 2919.25, 2921.321, 2921 .36, 2923.132, 2925.01, 2925, 02, 2925. 03, 2925.04,
2925.041, 2925.05, 2925.11, 2929.01, 2929.14, 2929.142, 2929.15, 2929.19, 2929.191, 2929.20, 2929.61,
2930.16, 2943,032, 2953.08, 2967.01, 2967.021, 2967.03, 2967.13, 2967.14, 2967.19, 2967.191,.2967.193,
2967.26, 2967.28, 2971.03, 3719.99, 5120.021, 5120.113, 5120.53, 5120.66, and 5149.04 and to enact sections
2961.011, 2929. 144, 2967. O71, and 5120.038 of the Ohio "Revised Code to provide for indefinite prison terms for
first or second degree felonies and specified third degree felonies, with presumptive release of offenders -
sentenced to such a term at the end of the minimum term; to generally allow the Department of Rehabilitation
and Correction to reduce the minimum term for exceptional conduct or adjustment to incarceration; to allow the
Department to rebut the Tglease presumption and keep the offender in prison up to the maximum term if it makes
specific findings; to require the Department to establish a reentry program for all offenders released from prison
who it intends to have réside in a halfway house or similar facility but who are not accepted by any such facility;
to require the Adult Parole Authority to establish maximum work-load and case-load standards for its parole and
field officers and have cnough trained officers to comply with the standards; to require that GPS monitoring used
for offenders released from prison under such monitoring specify restrictions, including inclusionary zones and
necessary exclusionary zones; to require the Department to establish system requirements for GPS monitoring of
such offenders by the Department or third-party contract administrators; to require the Department to operatic a
statewide database for law enforcement use containing specified information about such offenders; to require
that third-party administrators for GPS monitoring under a new contract with the Dept. provide and use a law
enforcenieni-acctssible cr crime scene =a programas = to ame na acts ‘provisions ¢ a Reagan Tokes: Act.
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Sec. 2929, Oi. As used ant this chapter:

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(FFF) "Non-life felony indefinite prison a tere" means a prison term imposed under Division. (ANCL), 2(A), or
3(A)D of Section 2929.14 and Section 2929.144 of the Revised Code fora felony of the first or second degree
committed on or after the effective date of this amendment or a felony of the third degree that is described in
Division (A}(3)(a) of Section 2929.14 of the Revised Code and committed on or after that effective date.

See. 2967271.

(A) As used in this section:

(1) "Offender’s minimum prison term" means the minimum prison term imposed on an offender under a non-life
felony indefinite prison term, diminished as provided in Section 2967.191 or 2967.193 of the Revised Code or in
any other provision of the Revised Code, other than Division (F) of this section, that provides for diminution or
reduction of an offender's sentence.

(2) "Offender's presumptive earned early release date" means the date that is determined under Division @) of
this section by the reduction of an offender's minimuin prison term.

(3) "Security level" means the security level in which an offender is classified waiiee the inmate classification
level system of the Department of Rehabilitation and Correction that them is in effect. :

4) "Sexually orientated offense" has the same meaning as in Section 2950.01 of the Revised Code.

(B) When an offender is sentenced to a non-life felony indefinite prison term, there shall be a presumption that

thé person si shail be released from service of thé setitencé on the expiration of the. cass minimum Brison term

or ‘on’ i offender's presumptive camed éaily release date, vaniiorer is earlier:

oo The presumption : established under Division @) of this’ section is is a. rebuttable presumption that the.

Department of Rehabilitation and Correction may rebut as provided in this division. Unless.the oat.
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rebuts the presumption, the offender shall be released from service of the sentence on the expiration of the
offender's minimum prison term or on the offender's presumptive eamed early release date, whichever is earlier.
The Department may rebut the presumption only if the Department determines, at a bearing, that one or more of

the following appies:.
(1) Regardless of the security level in which the offender is classified at the time of the hearing, both of the

following apply:

(a) During the offender's incarceration, the offender committed institutional rule infractions that involved
compromising the security of state correctional institution, compromising the safety of the staff of a state
correctional institution or its inmates, or physical harm or the threat of physical harm to the staff of a state
correctional institution or-its inmates, or committed a violation of law that was not prosecuted, and the
infractions or violations demontrate that the offender has not been rehabilitated. .

(b) The offender's behavior while incarcerated, including, but not limited to the infractions and violations
specified in Division (C)(1)(a) of this section, demonstrate that the offender continues to pose a threat to society.
(2) Regardiess of the security level in which the offender is classifed at the time of the hearing, the offender has
been placed by the Department in extended restrictive housing at any time within the year preceding the date of
the hearing.

(3) At the time of the hearing, the offender is classified by the Department as a security level three, four, or five,
or at a higher security level."

"(D)(1) If the Department of Rehabilitation and Correction, pursuant to Division (C) of this section, rebuts the
presumption established under Division (B) of this section, the Department may maintain the offender's
incarceration in a state correctional institution under the’sentence after the expiration of the offender's minimum
prison term or, for offenders who have a presumptive earned early release date, after the offender's presumptive
eared early release date. The Department may maintain the offender's incarceration under this division for an
additional period of incarceration determined by the Department, and shall not exceed the offender's maximum
prison term.

(2) If the Department maintains an offender's incarceration for an additional period under Division (D1) of this
section, there shall be a presumption that the offender shall be released on the expiration of the offender's
minimum prison term plus the additional period of incarceration specified by the Department as provided under
that division or, for offenders who have a presumptive earned early release date, on the expiration of the
additional period of incarceration to be served after the offender's presumptive eamed early release date that is
specified by the Department as provided under that division. The presumption is a rebuttable presumption that
the Department may rebut, but only if it conducts a hearing and makes the determinations specified in Division

(C) of this section, and if the Department rebuts the presumption, it may maintain the offender's incarceration in

a state cornectional institution for an additional period determined as specified in Division (D)(1) of this section,
unless the Department rebuts the presumption at the hearing, the offender shalt be released from service of the
sentence on the expiration of the offender's minimum prison term plus the additional period of incarceration
specified by the Department or, for offenders who have a presumptive earned carly release date, on the
expiration of the additional period of incatceration to be served after the offender's presumptive earned early
release date as specified by the Department. The provisions of this division regarding the establishment of a
rebuttable presumption, the Department's rebuttal of the presumption, and the Department's maintenance of an
offender's incarceration for an additional period of incarceration apply, and may be utilized more than one time,
during the remainder of the offender's incarceration. If the offender has not been released under Division (C) of
this section or this division prior to the expiration of the offender's maximum prison term, imposed as part of the
offender's non-life felony indefinite prison term, the offender shall be released upon the expiration of that
maximum term.

(E) The Department shal? provide notices of hearings to be conducted under Division (C) or (D) of this section in
the same manner, and to the same persons, as specified in Section 2967.12 and Chapter 2930 of the Revised
Code with respect to hearings to be conducted regarding the possible release on parole of an inmate.

(F(1) Except as provided in Division (F)(3) of this section, the Department of Rehabilitation and Correction,
pursuant to this division, may grant an offender serving a non-life felony indefinite prison term 2 reduction in the
offender's minimum prison term imposed under that non-life felony indefinite prison term for the offender's
